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 9
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10
     Attorneys for Plaintiff
11

12

13                     IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MONTANA
14                             GREAT FALLS DIVISION
15
     CHRISTOPHER TRAVIS, individually                         )
     and derivatively on behalf of MILK                       )    Cause No.: CV-22-74-GF-BMM-JTJ
16
     RIVER HUNTING PRESERVE, LLC, a                           )
17   dissolved Montana limited liability                      )
     company,                                                 )
18                                                            )
19
                               Plaintiff,                     )       STATEMENT OF UNDISPUTED
     vs.                                                      )               FACTS
20                                                            )
     JOHN KEVIN MOORE, et al.,                                )
21                                                            )
                               Defendants.                    )
22
                                                              )
23


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 1         Pursuant to Local Rule 56(a)(1), Plaintiff Christopher Travis (“Travis”),
 2
     individually and derivatively on behalf of Milk River Hunting Preserve, LLC
 3
     (“Milk River”), submits his statement of undisputed facts in support of Plaintiff’s
 4
     Motion for Partial Summary Judgment Quieting Title, filed concurrently herewith.
 5

 6         1.    The real property that is the subject of this litigation (hereinafter the

 7   “Subject Property”) is located in Valley County, Montana, and is more accurately

8    described as follows:
 9
     Township 28 North, Range 41 East, MPM
10
     Section 28: NW¼NW¼
11               EXCEPTING THEREFROM the Railroad and Highway Right of
                 Way described as follows:
12

13               Beginning at the Northwest Section corner of Section 28; thence S.
                 0D 09' W. a distance of 330.00 feet along the west section line of said
14               Section 28 to the true point of beginning; thence S. 0D 09' W.
                 continuing along the section line a distance of 344.28 feet; thence S.
15
                 71D 44' 58" E. a distance of 1392.74 feet; thence N. 0D 13' 32" E.
16               along the 1/16 section line a distance of 334.88 feet; thence N. 71D
                 23' 18" W. along the Highway R/W line a distance of 696.00 feet to
17               highway station 503+00; thence N. 18D 36' 42" E. a distance of 20
                 feet; thence N. 71D 23' 18" W. along the Highway R/W line a
18               distance of 700.11 feet to the point of true beginning.
19
                 ALSO EXCEPTING therefrom all of the lands north of the U.S.
20               Highway No. 2 located in the NW¼NW¼ Section 28, Township 28
                 North, Range 41 East, MPM. (Deed reference: Book 124 Deeds page
21               852, Doc. No. 36749)
22
                 EXCEPTING therefrom lands conveyed to the State of Montana
23               Highway Commission and more particularly described in book 65 of
                 Deeds on pages 613-614.

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 1   Section 28: A strip or piece of land 185 feet wide in the E½NW¼ lying between
                 two lines parallel to and distant respectively, 75 feet and 260 feet
 2
                 southwesterly, measured at right angles, from the center line of the
 3               main track of the railway of the Great Northern (now Burlington
                 Northern) Railway Company, as now located and constructed. (Deed
 4               reference book 63 MRE pages 27-28).
 5   Section 29: All that part of the right of way of the railway of Great Northern, now
 6
                 Burlington Northern, lying between two lines parallel to and distant,
                 respectively, 75 feet and 260 feet Southwesterly, measured at right
 7               angles from the centerline of the railway of the Great Northern
                 Railway (now Burlington Northern) Company, as now located and
8                constructed and extending from the East line of said Section 29
                 Northwesterly to a line drawn at a right angle to said centerline of
 9
                 railway at a point therein distant Northwesterly 800 feet, measured
10               along said center line, from its intersection with the East line of said
                 Section 29. (Deed reference book 61 MRE pages 323-328)
11
     Section 29: Lots 6, 7, 13, 15, S½NE¼
12

13   Section 29: Lots 1, 2, 5, 8, 10, 11, N½NE¼ less railroad and highway right-of-
                 way
14
     Section 30: Lot 23
15

16   Township 28 North, Range 41 East, MPM

17   Section 28: Lots 2, 3, 8, 10, SW¼NW¼, NW¼SW¼
                 EXCEPTING from Lot 2 a tract of land more particularly described in
18               book 17 of Deeds on pages 42-43, Doc. No. 53396 – to Great
19
                 Northern Railway Company.

20   See Schedule A to Litigation Guarantee, attached hereto as Exhibit 1.

21         2.    On or about October 25, 2001, Plaintiff Travis, Defendant John Kevin
22
     Moore (“Moore”), William Mihram, and Otto Kruppa, dba Aspen Group LTD,
23
     entered into a Contract for Deed with James David Girtman and Mildred E.

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 1   Girtman for the purchase of the following lands located in Valley County,
 2
     Montana, to wit:
 3
     Township 28 North, Range 41 East, MPM
 4
     Section 28: NW¼NW¼ (less railroad and highway rights of way), and
 5

 6
                 A strip or piece of land 185 feet wide in the E½NW¼ lying between
                 two lines parallel to and distant respectively, 75 feet and 260 feet
 7               southwesterly, measured at right angles, from the center line of the
                 main track of the railway of the Great Northern (now Burlington
8                Northern) Railway Company, as now located and constructed. (Deed
                 reference book 63 MRE pages 27-28)
 9

10   Section 29: Lots 1, 2, 5, 6, 7, 8, 10, 11, 13, 15, S½NE¼, N½NE¼ less railroad and
                 highway right-of-way, and
11
                 All that part of the right of way of the railway of Great Northern, now
12
                 Burlington Northern, lying between two lines parallel to and distant,
13               respectively, 75 feet and 260 feet Southwesterly, measured at right
                 angles from the centerline of the railway of the Great Northern
14               Railway (now Burlington Northern) Company, as now located and
                 constructed and extending from the East line of said Section 29
15
                 Northwesterly to a line drawn at a right angle to said centerline of
16               railway at a point therein distant Northwesterly 800 feet, measured
                 along said center line, from its intersection with the East line of said
17               Section 29. (Deed reference book 61 MRE pages 323-328)
18   Section 30: Lot 23
19
     See Warranty Deed (Oct. 25, 2001), attached hereto as Exhibit 2; letter from Sissy
20
     Girtman (June 20, 2021), attached hereto as Exhibit 3.
21
           3.    On or about September 3, 2003, William Mihram quitclaimed his
22

23   interest in the Contract for Deed to Moore. See Quitclaim Deed (Sept. 3, 2003),

     attached hereto as Exhibit 4.
                                                        -4-
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 1         4.     On or about September 9, 2003, Otto Kroupa (sic) c/o Aspen Group
 2
     quitclaimed his interest in the Contract for Deed to Moore. See Quitclaim Deed
 3
     (Sept. 9, 2003), attached hereto as Exhibit 5.
 4
           5.     On October 8, 2003, Travis, Moore, and Defendant Kirk Scoggins
 5

 6   filed Articles of Organization to establish Milk River Hunting Preserve, LLC, as a

 7   member managed limited liability company. See Articles of Organization (Oct. 8,

8    2003), attached hereto as Exhibit 6.
 9
           6.     On or about October 29, 2003, Moore assigned his interest in the
10
     Contract for Deed to Milk River. See Assignment (Oct. 29, 2003), attached hereto
11
     as Exhibit 7.
12

13         7.     On or about October 29, 2003, Scoggins/Go Big Mountain Ventures

14   assigned any interest he had in the Contract for Deed to Milk River. See
15
     Assignment (Oct. 29, 2003), attached hereto as Exhibit 8.
16
           8.     On or about November 6, 2003, Travis assigned his interest in the
17
     Contract for Deed to Milk River. See Assignment (Nov. 6, 2003), attached hereto
18

19
     as Exhibit 9.

20         9.     Milk River satisfied its obligations under the Contract for Deed.

21   Accordingly, a Warranty Deed for the lands subject to the Contract for Deed was
22
     recorded on March 18, 2004, as Document No. 124634 in the office of the Clerk
23
     and Recorder of Valley County. See Exhibit 2.

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 1         10.   On or about December 5, 2006, Milk River acquired an additional 200
 2
     acres of land by way of a Warranty Deed from Russell Gilbertson, as Grantor,
 3
     recorded as Document No. 132582 in the office of the Clerk and Recorder of
 4
     Valley County, which conveyed to Milk River the following lands located in
 5

 6   Valley County, Montana, to wit:

 7   Township 28 North, Range 41 East

8    Section 28: Lots 2, 3, 8, 10, SW¼NW¼, NW¼SW¼
                 EXCEPTING from Lot 2 a tract of land more particularly described in
 9
                 book 17 of Deeds on pages 42-43, Doc. No. 53396 – to Great
10               Northern Railway Company.

11   See Warranty Deed (Dec. 5, 2006), attached hereto as Exhibit 10.
12
           11.   Milk River was administratively dissolved by the Montana Secretary
13
     of State on December 1, 2011, for its failure to file annual reports. See 2011
14
     Involuntary Dissolution Notice, attached hereto as Exhibit 11.
15

16         12.   On July 20, 2018, Moore, through his Agent and Attorney-in-Fact

17   Tom Colligan, purported to Quit Claim all of his ownership interest in Milk River
18   to Daytronics, LLC, an Idaho limited liability company, pursuant to a “Quitclaim
19
     of Corporate Interest.” See Quitclaim of Corporate Interest (July 20, 2018),
20
     attached hereto as Exhibit 12.
21
           13.   On or about May 5, 2021, the United States Department of Justice
22

23   filed a Notice of Lien for Fine and/or Restitution against Defendant Moore under

     Document No. 173306 in the office of the Clerk and Recorder for Valley County.
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 1   The lien is in the amount of $2,224,917.00. See Notice of Lien, attached hereto as
 2
     Exhibit 13.
 3
           14.     In September or October of 2016, Moore, on behalf of Milk River but
 4
     without the knowledge or authority of its other members, entered into an
 5

 6   agricultural lease with Russ Gilbertson for a term of five years for $25,000, all paid

 7   up front. More than five years have elapsed since the entering into of the Lease.

8    See Defendant Kevin Moore’s Responses to Plaintiff’s First Set of Requests for
 9
     Admission, pp. 3-4 (June 1, 2023), attached hereto as Exhibit 14.
10
           15.     On August 3, 2018, Moore was found guilty on twenty-one federal
11
     charges after a jury trial. He was ordered to pay $2,222,817 to his victims in
12

13   restitution and $1,926,725 in forfeiture to the United States government. He was

14   thereafter sentenced to ten years and five months in federal prison. (ECF 85, ¶ 34.)
15
           16.     Default on Plaintiff’s Complaint to Quiet Title was entered against
16
     Daytronics, on August 31, 2022. (ECF 14.)
17
           17.     Default on Plaintiff’s Complaint to Quiet Title was entered against
18

19
     Defendant Steven Shrader, d/b/a Daytronics, on August 31, 2022. (ECF 15.)

20         18.     Default on Plaintiff’s Complaint to Quiet Title was entered against

21   Defendant Steven Shrader, d/b/a Daytronics, on August 31, 2022. (ECF 16.)
22
           19.     Default on Plaintiff’s Complaint to Quiet Title was entered against
23
     Defendant Kirk Scoggins on September 27, 2022. (ECF 27.)

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 1         20.    Default on Plaintiff’s Complaint to Quiet Title was entered against
 2
     Defendant Michael Welcome on October 26, 2022. (ECF 42.)
 3
           21.   Default on Plaintiff’s Complaint to Quiet Title was entered against all
 4
     Unknown Defendants on October 26, 2022. (ECF 43.)
 5

 6         22.   On August 26, 2022, Plaintiff filed a Lis Pendens with the Clerk and

 7   Recorder of Valley County, Montana, under Document No. 178923. See Lis

8    Pendens (Aug. 26, 2022), attached hereto as Exhibit 15.
 9
           23.   Defendant Moore admitted in his Answer to Verified Complaint and
10
     Demand for Jury Trial that the Subject Property is owned in fee simply by Milk
11
     River Hunting Preserve, LLC. (ECF 85, ¶ 12.)
12

13         24.   As a result of the lien filed by the United States, Plaintiff was required

14   by the local title company to name the United States Department of Justice in its
15
     complaint to quiet title to the Subject Property. See Schedule C to Litigation
16
     Guarantee, attached hereto as Exhibit 1.
17
           25.   Section 3.1 of the Operating Agreement of Milk River Hunting
18

19
     Preserve, LLC, provides in pertinent part that “the business and affairs of the

20   Company shall be managed by its Members. Except as otherwise provided in this

21   Agreement or by the non-waivable provision of the Act, each Member shall have
22
     full and complete authority, power and discretion to manage and control the
23
     business, affairs and property of the Company and to perform any and all other acts

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 1   or activities customary or incident to the management of the Company’s business.”
 2
     See Operating Agreement of Milk River Hunting Preserve, LLC, attached hereto as
 3
     Exhibit 16.
 4
           DATED this 8th day of August, 2023.
 5

 6                                                  CHRISTENSEN FULTON & FILZ, PLLC

 7                                                  /s/ Joseph L. Breitenbach
                                                        Attorneys for Plaintiff
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 1
                                  CERTIFICATE OF SERVICE
 2

 3         I, the undersigned, a representative of the law firm of Christensen, Fulton &
     Filz, P.L.L.C., hereby certify that I served a true and complete copy of the
 4   foregoing STATEMENT OF UNDIPSUTED FACTS on the following persons
     by the following means:
 5

 6    1-6      CM/ECF
               Hand Delivery
 7             Mail
               Overnight Delivery Service
8              Fax
 9             E-Mail

10   1.     Clerk, U.S. District Court

11   2.     Benjamin O. Rechtfertig
            Hedger Friend, PLLC
12
            2800 Central Ave., Suite C
13          Billings, MT 59102

14   3.     Lynsey Ross
            Mark Steger Smith
15
            U.S. Attorney’s Office
16          2601 2nd Ave. North, Suite 3200
            Billings, MT 59101
17
     4.     Chris McConnell
18
            Kirsten Madsen
19          Commissioner of Securities & Insurance
            Office of the Montana State Auditor
20          840 Helena Ave.
            Helena, MT 59601
21

22
     5.     Alexander L. Roots
            Planalp & Roots, P.C.
23          P.O. Box 1
            Bozeman, MT 59771

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 1
     6.   John Pierce
 2
          John Pierce Law
 3        21550 Oxnard Street
          3rd Floor PMB #172
 4        Woodland Hills, CA 91367
 5

 6
     DATE: August 8, 2023                                    /s/ Joseph L. Breitenbach

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